Case 1:07-cv-11693-GAO                           Document 112-5                    Filed 09/29/08      Page 1 of 1
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                                              Exam Development Steps

   l- Procure the exam outline. (Same outline has been in place since the beginning of
        the 1990's, when I started writing items.
  2. Wrote (or possibly assembled from other banks)
                                                         total of277 exam items and
        classified them according to item categories. Note: There is no quick or easily
        accomplished way of establishing which item came from where.
  3. Called SMEs to have them review ilitems. Used two SMEs, Chief C
       and ChiefM , in two meetings each (4 meetings total). Each of
                                                                                 the 277 items
       was reviewed by at least one of        these SMEs..
 4. Chose 120 of             the items that SMEs approved for the exam. (80 items sgt., 100
       items it., 120 items chief. .


                                                           After exam
 I. Ran TIA, re-checked for accuracy all items where less than 60% got them
            .   right.
 2. Reviewed all                  letters appealing exam.
 3. Reviewed all items appealed                           against all issues raised in appeal         letters.
 4. Amended answer key where the results of
                                                                              the reviews of    the appeal and the
                TIA warranted.
 5. Sent out replies to appeal                       letters. .




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